   Case 2:07-md-01873-KDE-MBN Document 14442 Filed 06/21/10 Page 1 of 2




                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA TRAILER FORMALDEHYDE                *     MDL NO. 1873
PRODUCT LIABLIITY LITIGATION                    *
                                                *     Section: “N-5”
This Document Relates to:                       *
Thelda Hart, et al v. Crum & Forster Specialty  *
Insurance Co., et al., EDLA No. 4999            *     JUDGE ENGELHARDT
                                                *     MAG. JUDGE CHASEZ
*************************************************************************

                         NOTICE OF VOLUNTARY DISMISSAL

       NOW INTO COURT, through undersigned counsel, comes the Named Plaintiffs who,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) hereby voluntarily dismiss Crum

&Forster Specialty Insurance Co., Sentry Insurance Agency, Inc., and Fluor Enterprises, Inc., as

defendants in the above-captioned matter as this instant suit is duplicative of Hart, et al v.

Fleetwood Enterprises, et al, 09-2947 (E.D.La. 2009).

       Accordingly, the Named Plaintiffs seek to voluntary dismiss the above-captioned matter,

while reserving all rights and allegations asserted in Hart, et al v. Fleetwood, et al, 09-2947

(E.D.La. 2009).



                                            Respectfully submitted:

                                            GAINSBURGH, BENJAMIN, DAVID,
                                            MEUNIER & WARSHAUER, LLC

                                            BY:    /s/ Justin I. Woods
                                                   GERALD E. MEUNIER, #9471
                                                   JUSTIN I. WOODS, #24713
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    Case 2:07-md-01873-KDE-MBN Document 14442 Filed 06/21/10 Page 2 of 2




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2010, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.


                                               /s/ Justin I. Woods
                                              JUSTIN I. WOODS, #24713
